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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT

  JAKUB MADEJ,                               :
           Plaintiff,                        :
  v.                                         :         CIVIL ACTION NO.
                                             :         3:20-cv-133 (JCH) (SALM)
  YALE UNIVERSITY ET AL.,                    :
            Defendants.                      :         JANUARY 5, 2021


                         PLAINTIFF’S DEPOSITION NOTICES

       On January 3, 2021, Plaintiff Jakub Madej (“Madej”) issued two notices of

deposition and one deposition subpoena. The Court has discussed these three

depositions at length in its 13-page-long written opinion, filed December 23, 2020. See

Docket Entry (“DE”) 218. The Court earlier ruled that “[a]ny party issuing a notice of

deposition must also file a copy of that Notice on the docket … for the Court's review”.

DE 215. As ordered, Madej attaches the notices issued to this docket entry. See

Exhibits A-C.




Dated: January 5, 2021.                     Respectfully submitted,
                                            By: /s/ Jakub Madej
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